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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                         *
                                                  *
                       Plaintiff,                 *
vs.                                               *        No. 4:08cr00317 SWW
                                                  *
                                                  *
CRAIG A. HAGERTY and                              *
ANGELA L. HAGERTY,                                *
                                                  *
                       Defendants.                *

                                              ORDER

       Defendants Craig A. Hagerty and Angela L. Hagerty, husband and wife, are under

indictment for conspiracy to evade and defeat taxes, income tax evasion, and evasion of payment.

On February 25, 2009, Mr. Hagerty appeared before the Court for a hearing on the matter of his

compliance with the Order Setting Conditions of Pretrial Release in the above-styled case. From

the testimony of the United States Probation Officer and the facts stated on the record, the Court

found that Mr. Hagerty refuses to obey Court orders, has exhibited a pattern of behavior of not

cooperating with his attorney, has shown only defiance, has not obtained or sought employment

in violation of his conditions of pretrial release, traveled to another jurisdiction without proper

notification, deliberately gave the probation officer a wrong address resulting in the probation

officer initially being unable to locate defendant, and has failed to report to the probation officer

for his weekly supervision contact as directed. See Order dated February 25, 2009 [doc.#32].

The Court additionally found by a preponderance of the evidence that Mr. Hagerty poses a
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serious risk of flight and a serious risk of obstruction of justice. Id. (citing 18 U.S.C. § 3142).1

Given Mr. Hagerty’s failure to comply with his pretrial conditions of release, the Court

determined there are no reasonable conditions of release that can be set. Id. Given also that it

was established by clear and convincing evidence that Mr. Hagerty violated the pretrial

conditions of his release, the Court ordered that Mr. Hagerty’s pretrial release be revoked and

that he be detained pending trial. Id.

          On March 6, 2009, Mr. Hagerty filed a motion for modification of detention order,

opposed by the government [doc.#34]. Mr. Hagerty argues that a material change of

circumstances has occurred that would support his release from jail under appropriate conditions

of release, the material change being (1) a change in his attitude and his realization that the Court

undoubtedly will enforce the conditions of release ordered by Magistrate Judge Ray and (2) that

he has filed a motion whereby the Court will be able to determine in camera whether, based on

his financial affidavit, he is eligible for appointed counsel.2

          The Court held a hearing on Mr. Hagerty’s motion on March 11, 2009, during which

evidence (both documentary and testimonial) was presented and argument was made. For the

reasons stated from the bench at the conclusion of the hearing, the Court denies Mr. Hagerty’s

motion for modification of detention order.

          The Court has considered a number of factors in ruling on Mr. Hagerty’s motion for



          1
             See, e.g., United States v. Orta, 760 F.2d 887 (8th Cir. 1985 (en banc) (standard of review); United States v. Abad,
350 F.3d 793 (8th Cir. 2003) (same); see also United States v. Madoff, 586 F.Supp.2d 240, 247 (S.D.N.Y. 2009) (court must
determine whether the government has established by a preponderance of the evidence that defendant presents a risk of flight or
obstruction of justice).
          2
            The Court has not considered the issue of Mr. Hagerty’s eligibility for appointed counsel and his financial affidavit in
ruling either on the initial question of Mr. Hagerty’s detention or on Mr. Hagerty’s motion for modification of detention order.

                                                                 2
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modification of detention order.3 Mr. Hagerty is not on probation or parole, and the length of

residence in the community would not say that he should be detained. He has good family ties

and his community ties are substantial in that he has children and a wife here. And there has

been no particular evidence concerning the nature and seriousness of the danger to any person or

the community that would be posed by Mr. Hagerty’s release.

          However, Mr. Hagerty has not worked in accordance with the Court's directives and his

past conduct shows that he has been a tax protester, writing a letter to an Illinois grand jury in

2002 threatening the grand jury foreman with suit, appearing before the Court and defying its

authority, and telling the Court that he is going to file tax liens against the Court. Certainly the

Court can consider those matters as past conduct. In addition, the weight of the evidence against

Mr. Hagerty as it stands right now is substantial given the amended tax returns he filed admitting

to liability. It's also clear from the evidence that every time the government started questioning

Mr. Hagerty about this case, he started putting his money in another entity, requiring the

government to chase it around (which it apparently still is).

          Moreover, the Court is not persuaded that Mr. Hagerty has been truthful to the Court.

The Court is concerned not only with the manner in which Mr. Hagerty treated the probation

officer – Mr. Rich McCauley – but also the manner in which he has treated the Court. He has

previously refused to get lawyers and has refused to pay the lawyers he did have. Mr. Hagerty

was certainly evasive on the stand concerning the circumstances of a previous lawyer, Mr. John

Hall. He was evasive about whether Mr. Hall represented him, about whether he talked to him,



          3
            The Court has not, however, specifically considered financial resources as such information is under seal, thus
impairing the government’s ability to cross-examine Mr. Hagerty.

                                                                3
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and clearly Mr. Hall had his documents and had communicated with Assistant United States

Attorney Michael Johnson on Mr. Hagerty's behalf, and for some reason Mr. Hagerty did not

want to pay Mr. Hall. In addition, Mr. Hagerty’s latest retained counsel, Mr. Robert Sticht, who

was allowed to withdraw, says Mr. Hagerty would not pay him.4

          The Court has been frustrated with Mr. Hagerty concerning the circumstances of his

representation and the Court finds that Mr. Hagerty has been defiant, has not been truthful about

Mr. Hall's representation of him and, based on the evidence adduced at the hearing, is wont to

move money around and hide it from the government. In this respect, putting Mr. Hagerty on

home detention with electronic monitoring would not keep him from trying to obstruct justice

and hide assets from the government, and the freezing of his assets is not in these circumstances

a viable option.5

          The Court has considered Mr. Hagerty’s assertion that he has had a change in his attitude

and is now willing to abide by the conditions of release but, based on his history and long history

of defiance, is not persuaded that he is serious about it. Mr. McCauley worked hard with Mr.

Hagerty to try to get him to adhere to what the Court ordered and he defied Mr. McCauley and

the Court. The Court finds that there is no condition of release that would assure Mr. Hagerty’s

compliance with the conditions of release, particularly with respect to his not moving money

around and trying to hide assets from the government, which this Court finds there remains a

serious risk. And the Court finds that there remains a serious risk of flight on the part of Mr.


          4
            Mr. Hagerty now has a lawyer he apparently likes, Assistant Federal Public Defender Omar Greene. This Court will
later address whether Mr. Greene should be permanently appointed.

          5
            The Court asked the parties to consider the issue of a bond but no one pursued the issue and so this Court did not
consider that.

                                                                4
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Hagerty.6 Accordingly, the Court finds that Mr. Hagerty should remain detained in accordance

with 18 U.S.C. §§ 3142, 3148.

          IT IS THEREFORE ORDERED that Mr. Hagerty’s motion for modification of detention

order, opposed by the government [doc.#34] be and it hereby is denied.



                              Dated this 12th day of March 2009.

                                                            /s/Susan Webber Wright

                                                            UNITED STATES DISTRICT JUDGE




          6
            Mr. Hagerty has previously traveled to California during the pendency of this case and he holds a pilot’s license
(although it is not certain if it is current).

                                                                5
